  Case: 1:10-cv-01168 Document #: 589 Filed: 03/23/14 Page 1 of 4 PageID #:10288



                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

NATHSON E. FIELDS,                        )
    Plaintiff,                            )
                                          )       No. 10 CV 1168
     v.                                   )
                                          )       Hon. Matthew F. Kennelly
CITY OF CHICAGO et al.,                   )
     Defendants.                          )

 PLAINTIFF’S SUPPLEMENT TO MOTION FOR SANCTIONS AND A FINDING
                      OF CONTEMPT OF COURT
             AGAINST CITY DEFENDANTS, FOLLOWING THE
                   DECLARATION OF A MISTRIAL

       NOW COMES Plaintiff Nathson Fields, by and through his attorneys, and hereby

submits the following costs and fees in support of their motion for sanctions regarding

the mistrial. In support of his motion, Plaintiff states the following:

       A. MONETARY RELIEF SOUGHT BY PLAINTIFF

   1. A monetary sanction in an amount determined by this court.

       Plaintiff asks this Court to determine a monetary sanction against the defendants

   for the blatant misconduct that led to the mistrial.

   2. Doubled attorney’s fees for the time expended in conducting the first trial.

       As per the attached exhibits the fees incurred by counsel for defendant for the

       time spent from Sunday March 9, 2014 to the time of the mistrial as a sanction.

       Counsel state that the time spent prior to March 9th, 2014 includes work that can

       most likely be utilized in the next trial but that all of the work done from the day

       prior to the trial through the time of the mistrial will need to be done again at the

       next trial. Plaintiff asks that this Court enter a fee award of double the time spent
    Case: 1:10-cv-01168 Document #: 589 Filed: 03/23/14 Page 2 of 4 PageID #:10289



        by counsel at trial and preparing for trial during this time frame. The actual time

        spent and hourly rates are as follows:

           Attorney H. Candace Gorman- 105.50 hours @ $500 per hour-$52,750 (Ex. A)

           Attorney Leonard Goodman- 97.75 hours @$400 per hour-$39,100 (Ex. B)

           Attorney Melissa Matuzak- 88.75 hours@$250 per hour-$22,187.50 (Ex. B)

           Attorney Adrian Bliefuss- 79.95 hours @ $150 per hour- $11,962.50 (Ex. C)

    3. The following costs associated with the mistrial (Ex. B)

               Fee and travel expenses for expert Lou Reiter- $3519.57

               Travel and per diem for Sandra Langston—             $887.75

               Subpoena service of process cost—                    $770.00

               Witness fee for witnesses to date-                   $440.66

    4. Total fees $126,000; total costs $6,058.64

        B. NON- MONETARY RELIEF SOUGHT

               •   Plaintiff asks that the defendant not be allowed to use the transcript

                   from the first trial to impeach any Plaintiff witness.

               •   Plaintiff asks that this Court allow Plaintiff to put forward findings of

                   fact from the seven days of trial and 15 witnesses that will lessen the

                   need for some testimony at the second trial. 1




Counsel will examine the transcripts and submit findings if this Court indicates it will allow
1

Plaintiff to proceed in this manner.

                                                2
  Case: 1:10-cv-01168 Document #: 589 Filed: 03/23/14 Page 3 of 4 PageID #:10290



   WHEREFORE, for all of the reasons stated above, Plaintiff asks that this Court grant

double the amount of fees and costs as a sanction for the contumacious conduct of Mr.

O’Callaghan and his attorney in causing the mistrial for the total sum of $264,117.28,

grant the other relief sought in the Motion and in this Supplement, and for such other

and further relief as this Court deems just.



                                               Respectfully Submitted,

                                               /s/H. Candace Gorman
                                               One of the Attorneys for Fields




                                               3
  Case: 1:10-cv-01168 Document #: 589 Filed: 03/23/14 Page 4 of 4 PageID #:10291



                            CERTIFICATE OF SERVICE

      I, H. Candace Gorman, hereby certify that the foregoing Motion was served to the

parties electronically by means of the Court’s CM/ECF system.




Dated: March 23, 2014

                                              Respectfully Submitted,

                                              /s/H. Candace Gorman
                                              One of the Attorneys for Fields



For Fields:

                                              H. Candace Gorman
Leonard C. Goodman                            220 S. Halsted
Melissa Matuzak                               Suite 200
53 W. Jackson Boulevard                       Chicago Illinois 60661
Suite 1650                                    312-427-2313
Chicago, Illinois 60604
312-986-1984




                                          4
